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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
JEFFREY B. SEDLIK,                                             CASE NUMBER

                                                                             CV 21-1102 DSF (MRWx)
                                                PLAINTIFF(S)
                              v.
KATHERINE VON DRACHENBERG; HIGH
                                                                  ORDER RE APPLICATION FOR PERMISSION
VOLTAGE TATTOO, INC.,                                                    FOR ELECTRONIC FILING
                                              DEFENDANT(S)


IT IS ORDERED that the Application for Permission for Electronic Filing by                JEFFREY B. SEDLIK
                                       is hereby:

           ✔    GRANTED

          Pursuant to Local Rule 5-4.1.1, the applicant must register to use the Court's CM/ECF System within
five (5) days of being served with this order. Registration information is available at the Pro Se Litigant
E-Filing web page located on the Court's website. Upon registering, the applicant will receive a CM/ECF
login and password that will allow him/her to file non-sealed documents electronically in this case only. Any
documents being submitted under seal must be manually filed with the Clerk.


          Dated:      November 23, 2022
                                                                 United States District


                DENIED
          Comments:




          Dated:
                                                                 United States District/Magistrate Judge
CV-05 Order (12/15)           ORDER RE APPLICATION FOR PERMISSION FOR ELECTRONIC CASE FILING
